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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 THE PRUDENTIAL INSURANCE COMPANY         Civ. No. 20-cv-03036-NLH-SAK
 OF AMERICA,


 Plaintiff,
                                                        ORDER
 v.


 ERIC SEBEASTIAN EVANS, in his
 capacity as Administrator of the
 Estate of Malvina Slater, ANGELA
 D. WILLIAMS-TARPLAY and MAY
 FUNERAL HOME INC.


 Defendants.


      This matter having been brought to the Court upon a Motion

filed by Plaintiff, The Prudential Insurance Company of America

(“Prudential” or “Plaintiff”) (ECF No. 47) for the entry of an

order: (1) granting default judgment against Defendants Eric

Sebeastian Evans, in his capacity as administrator of the Estate

of Malvina Slater (“Evans”) and May Funeral Home Inc.(“Funeral

Home”) pursuant to Federal Rule of Civil Procedure 55; (2)

granting interpleader relief to Prudential with regard to a

$6,443.99 death benefit (the “Death Benefit”) due as consequence

of the death of Malvina Slater (the “Insured”) in connection

with an individual life insurance policy bearing policy number

40505341 (“Policy”) issued by Prudential; (3) discharging
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Prudential from liability with regard to the Policy and Death

Benefit; and (4) dismissing Prudential from this action with

prejudice; and

      WHEREAS, having deposited the Death Benefit into the

Court’s Registry (ECF No. 37) establishing this Court’s

jurisdiction; and

      WHEREAS, the Clerk having entered Default on May 10, 2022

against Defendants Evans and Funeral Home for failure to plead

or otherwise defend after service and motion pursuant to Federal

Rule of Procedure 55(a) (ECF Nos. 33 and 34); and

      WHEREAS neither Evans, Funeral Home, or answering Defendant

Angela D. Williams-Tarplay (“Williams-Tarplay”) having filed

opposition to Plaintiff’s motion; and

      WHEREAS the Court having considered the application, and

for good cause having been shown,

      IT IS on this __2nd__ day of __March __, 2023,

      ORDERED that:

      1.    Prudential’s Motion for Default Judgment against

Defendants Evans and Funeral Home pursuant to Federal Rule of

Procedure 55(b)(2) be, and the same hereby is, GRANTED.

      2.    Prudential’s Motion for Interpleader Relief (ECF No.

47) be, and the same hereby is, GRANTED.

      3.    Prudential is hereby discharged from any and all

liability to Defendants Williams-Tarplay, Evans, Funeral Home
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and any heirs, representatives, agents, beneficiaries,

attorneys, successors, assigns or future representatives,

executors or administrators of the Estate Malvina Slater,

relating to the Policy and/or Death Benefit, and Willaims-

Tarplay, Evans, Funeral Home and any heirs, representatives,

agents, beneficiaries, attorneys, successors, assigns or future

representatives, executors or administrators of the Estate of

Malvian Slater are permanently enjoined from bringing any action

or proceeding in any forum, or making any further actual or

implied claims, demands and causes of action, asserted or

unasserted, liquidated or unliquidated, or bringing any action

or proceeding in any forum against Prudential, arising out of or

in connection with the Policy and/or the Death Benefit.

      4.    All claims, rights, interests and actions that

Willaims-Tarplay, Evans, Funeral Home and any heirs,

representatives, agents, beneficiaries, attorneys, successors,

assigns or future representatives, executors or administrators

of the Estate of Malvian Slater might otherwise have held

against Prudential and its present and former parents,

subsidiaries and affiliated corporations, predecessors,

successors and assigns and their respective officers, directors,

agents, employees, representatives, attorneys, fiduciaries and

administrators, with respect to the Policy and/or the Death

Benefit are hereby released.
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      5.    All claims against Prudential be, and the same hereby

are, dismissed with prejudice, and Prudential is hereby

dismissed with prejudice from this litigation.

      6.    Nothing in this Order shall be construed as

adjudicating any claim to the Death Benefit by Defendant

Williams-Tarplay or any other potential claimant to such funds

which shall remain in the Registry of the Court and the

possession of the Clerk until further Order of the Court.



At Camden, New Jersey                 s/ Noel L. Hillman _____
                                     Noel L. Hillman, U.S.D.J.
